   Case: 1:20-cv-00179-TSB Doc #: 17 Filed: 06/29/22 Page: 1 of 2 PAGEID #: 118




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                      Filed: June 28, 2022




Mr. Richard W. Nagel
U.S. District Court
for the Southern District of Ohio
100 E. Fifth Street
103 Potter Stewart U.S. Courthouse
Cincinnati, OH 45202

                     Re: Case No. 21-3840, Mark Charlton-Perkins v. UC, et al
                         Originating Case No.: 1:20-cv-00179

Dear Clerk,

  Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely,

                                                 s/Antoinette Macon
                                                 Case Manager
                                                 Direct Dial No. 513-564-7015

cc: Mr. Brian Joseph Butler
    Mr. Brian G. Dershaw
    Mr. Marc D. Mezibov
    Mr. Evan T. Priestle

Enclosure
     Case: 1:20-cv-00179-TSB Doc #: 17 Filed: 06/29/22 Page: 2 of 2 PAGEID #: 119




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 21-3840
                                           ________________

                                                                      Filed: June 28, 2022

MARK CHARLTON-PERKINS

                Plaintiff - Appellant

v.

UNIVERSITY OF CINCINNATI; KENNETH PETREN, In his official and individual
Capacities; GEORGE UETZ, In his official and individual Capacities

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 06/03/2022 the mandate for this case hereby

issues today.



COSTS: None
